996 F.2d 836
    UNITED STATES of America, Plaintiff-Appellee,v.Roy Lee JOHNSON, Defendant-Appellant.
    Nos. 91-1200, 91-1201.
    United States Court of Appeals,Sixth Circuit.
    July 2, 1993.
    
      Before:  MERRITT, Chief Judge, KEITH, KENNEDY, MARTIN, JONES, MILBURN, GUY, NELSON, RYAN, BOGGS, NORRIS, SUHRHEINRICH, SILER and BATCHELDER, Circuit Judges.ORDER
    
    
      1
      A majority of the Judges of this Court in regular active service have voted for rehearing of this case en banc.   Sixth Circuit Rule 14 provides as follows:
    
    
      2
      The effect of the granting of a hearing en banc shall be to vacate the previous opinion and judgment of this court, to stay the mandate and to restore the case on the docket sheet as a pending appeal.
    
    
      3
      Accordingly, it is ORDERED that the previous decision and judgment of this court 986 F.2d 134 is vacated, the mandate is stayed and this case is restored to the docket as a pending appeal.
    
    
      4
      The Clerk will direct the parties to file supplemental briefs and will schedule this case for oral argument as soon as possible.
    
    